          Case 21-41655-elm11 Doc 115 Filed 07/23/21                                           Entered 07/23/21 18:15:10            Page 1 of 40




 Fill in this information to identify the case:

Debtor name               Automotive Parts Distribution International, LLC

United States Bankruptcy Court for the:             Northern District of Texas

Case number (if known)           21-41655-e m11
                                                                                                                                0   Check if this is an
                                                                                                                                    amended filing



Official Form 202
Decarra'Non Under Penalty of Perjury for Non-hidviduall Debtors                                                                                           12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                      Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       1 have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:
        gloomommRim




                       Schedule A/B: Assets—Real and Personal Property (Official Form 206A/B)
                       Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                       Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                       Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                       Schedule H: Codebtors (Official Form 206H)
                       Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                       Amended Schedule
                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Larges U:1)secu d Claims and Are Not Insiders (Official Form 204)
                       Other document that requires a declaration    Statement of Financial airs (7 fficial Form 207)

       I declare under penalty of erjury; that the foregoing is true a • orrec

        EXecuted on             (-9 7                                X_
                                                                      Signatyrfe   in    dual si ning o    ehalf of debtor
                                                                                        JErr -      .5641evive:ie--
                                                                              name


                                                                      Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:

 Debtor name           Automotive Parts Distribution International, LLC

 United States Bankruptcy Court for the:                       Northern District of Texas

 Case number (if known)              21-41655-elm11
                                                                                                                                                                                     Check if this is an
                                                                                                                                                                                     amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                 12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................               $ 0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                  $ 18,334,849.48

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                 $ 18,334,849.48


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                               $ 0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                  $   204,396.78

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                          +$   35,014,238.69


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $ 35,218,635.47




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                               page 1
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 Fill in this information to identify the case:

 Debtor name         Automotive Parts Distribution International, LLC

 United States Bankruptcy Court for the:            Northern District of Texas

 Case number (if known)        21-41655-elm11
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                         12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

         No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest
 2.        Cash on hand                                                                                                                 1,009.92




 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)

           Name of institution (bank or brokerage firm)                      Type of account                Last 4 digits of account
                                                                                                            number
           3.1. See attached schedule "A/B Part 1: 3.1 support"                                                                         1,779,306.57




 4.        Other cash equivalents (Identify all)



           4.1. N/A




 5.        Total of Part 1.                                                                                                       1,780,316.49
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.


 Part 2:        Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits

           Description, including name of holder of deposit
           7.1. See attached schedule "A/B Part 2: 7.1 support"                                                                         850,000.00


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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 Debtor          Automotive Parts Distribution International, LLC                              Case number (If known) 21-41655-elm11
                Name

           Description, including name of holder of deposit


 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

           Description, including name of holder of prepayment
           8.1. See attached schedule "A/B Part 2: 8.1 support"                                                                    16,988.51




 9.        Total of Part 2.                                                                                                     866,988.51
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.

 11.       Accounts receivable


           11a. 90 days old or less:         5,402,854.66                    -   Unknown                               = ....      5,402,854.66
                                              face amount                        doubtful or uncollectible accounts




           11b. Over 90 days old:            8,164,318.22                    -   7,000,000                            =....        1,164,318.22
                                              face amount                        doubtful or uncollectible accounts




 12.       Total of Part 3.                                                                                                     6,567,172.88
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

       No. Go to Part 5.
       Yes Fill in the information below.

                                                                                                        Valuation method used      Current value of
                                                                                                        for current value          debtor's interest


 14.       Mutual funds or publicly traded stocks not included in Part 1

           Name of fund or stock:


           14.1.



 15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
           partnership, or joint venture

           Name of entity:                                                          % of ownership


           15.1.                                                                                %



 16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 2
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 Debtor         Automotive Parts Distribution International, LLC                              Case number (If known) 21-41655-elm11
                Name

           Describe:


           16.1.




 17.       Total of Part 4.
           Add lines 14 through 16. Copy the total to line 83.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

       No. Go to Part 6.
       Yes Fill in the information below.

           General description                        Date of the last        Net book value of      Valuation method used     Current value of
                                                      physical inventory      debtor's interest      for current value         debtor's interest
                                                                              (Where available)

 19.       Raw materials




 20.       Work in progress




 21.       Finished goods, including goods held for resale

           Inventory for resale                      December 12, 2020        8,042,808.29          FIFO                       8,042,808.29



 22.       Other inventory or supplies




 23.       Total of Part 5.                                                                                                  8,042,808.29
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                            Valuation method                         Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
             Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

       No. Go to Part 7.
       Yes Fill in the information below.


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 3
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 Debtor          Automotive Parts Distribution International, LLC                                Case number (If known) 21-41655-elm11
                Name

           General description                                                   Net book value of     Valuation method used    Current value of
                                                                                 debtor's interest     for current value        debtor's interest
                                                                                 (Where available)

 28.       Crops-either planted or harvested




 29.       Farm animals Examples: Livestock, poultry, farm-raised fish




 30.       Farm machinery and equipment (Other than titled motor vehicles)




 31.       Farm and fishing supplies, chemicals, and feed




 32.       Other farming and fishing-related property not already listed in Part 6




 33.       Total of Part 6.
           Add lines 28 through 32. Copy the total to line 85.

 34.       Is the debtor a member of an agricultural cooperative?
               No
               Yes. Is any of the debtor's property stored at the cooperative?
                         No
                         Yes

 35.       Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                       Valuation method                      Current Value

 36.       Is a depreciation schedule available for any of the property listed in Part 6?
               No
               Yes

 37.       Has any of the property listed in Part 6 been appraised by a professional within the last year?
             No
             Yes

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

       No. Go to Part 8.
       Yes Fill in the information below.

           General description                                                   Net book value of     Valuation method used    Current value of
                                                                                 debtor's interest     for current value        debtor's interest
                                                                                 (Where available)

 39.       Office furniture
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 4
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 Debtor          Automotive Parts Distribution International, LLC                             Case number (If known) 21-41655-elm11
                 Name


           See attached "Fixed Asset Listing"                                 1,905.03               Straight line depreciation      1,905.03



 40.       Office fixtures

           N/A



 41.       Office equipment, including all computer equipment and
           communication systems equipment and software

           See attached "Fixed Asset Listing"                                 26,938.52              Straight line depreciation      26,938.52



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

           42.1. N/A




 43.       Total of Part 7.                                                                                                       28,843.55
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:         Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

       No. Go to Part 9.
       Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used           Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value               debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


           47.1. N/A



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

           48.1. N/A



 49.       Aircraft and accessories


           49.1.. N/A


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                          page 5
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 Debtor          Automotive Parts Distribution International, LLC                               Case number (If known) 21-41655-elm11
                Name




 50.        Other machinery, fixtures, and equipment (excluding farm
            machinery and equipment)

            See attached "Fixed Asset Listing". Also see "Equipment Lease".                           Straight line depreciation      102,587.76 (excludes lease)




 51.        Total of Part 8.                                                                                                       102,587.76
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
                No
                Yes

 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

       No. Go to Part 10.
       Yes Fill in the information below.

 55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

            Description and location of                   Nature and            Net book value of      Valuation method used         Current value of
            property                                      extent of             debtor's interest      for current value             debtor's interest
            Include street address or other               debtor's interest     (Where available)
            description such as Assessor                  in property
            Parcel Number (APN), and type
            of property (for example,
            acreage, factory, warehouse,
            apartment or office building, if
            available.

            55.1.

3000 E. Pioneer Pkwy, Suite 160 and                       Lease for warehouse   N/A                   N/A                             $0
180 Arlington, TX 76028                                   operations



 56.        Total of Part 9.                                                                                                        $0
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
                No
                Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
              No
              Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

       No. Go to Part 11.
       Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                           page 6
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 Debtor         Automotive Parts Distribution International, LLC                              Case number (If known) 21-41655-elm11
                Name

            General description                                               Net book value of      Valuation method used    Current value of
                                                                              debtor's interest      for current value        debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets




 61.        Internet domain names and websites

            www.apdius.com                                                    0                     N/A                       Uknown



 62.        Licenses, franchises, and royalties




 63.        Customer lists, mailing lists, or other compilations




 64.        Other intangibles, or intellectual property




 65.        Goodwill




 66.        Total of Part 10.                                                                                                Unknown
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

       No. Go to Part 12.
       Yes Fill in the information below.

                                                                                                                              Current value of
                                                                                                                              debtor's interest



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 7
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 Debtor         Automotive Parts Distribution International, LLC                                 Case number (If known) 21-41655-elm11
                Name

 71.       Notes receivable
           Description (include name of obligor)

                                                                                           -                                      =
                                                                      Total face amount        doubtful or uncollectible amount



 72.       Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)


           Federal 1120                                                                            Tax year 2019                      946,132



 73.       Interests in insurance policies or annuities




 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)



           Nature of claim
           Amount requested



 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims



           Nature of claim
           Amount requested



 76.       Trusts, equitable or future interests in property




 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership




 78.       Total of Part 11.                                                                                                      946,132
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                        page 8
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 Debtor            Automotive Parts Distribution International, LLC                                                  Case number (If known) 21-41655-elm11
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                     Current value of real
                                                                                                    personal property                    property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                           1,780,316.49

 81. Deposits and prepayments. Copy line 9, Part 2.                                                866,988.51

 82. Accounts receivable. Copy line 12, Part 3.                                                     6,567,172.88

 83. Investments. Copy line 17, Part 4.                                                             0

 84. Inventory. Copy line 23, Part 5.                                                              8,042,808.29

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                      0

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                          28,843.55

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                      102,587.76


 88. Real property. Copy line 56, Part 9.........................................................................................>            $0

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                  Unknown

 90. All other assets. Copy line 78, Part 11.                                                    + 946,132


 91. Total. Add lines 80 through 90 for each column                                          18,334,849.48                           + 91b.


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                    18,334,849.48




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 9
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A/B Part 1: 3.1 support
Checking, savings, money market, or financial brogerage accounts

Name of institution     Type       Activity          Last 4 of account Amount
Truist FKA BB&T         Checking   Collections/Wires               7625 1,398,240.21
Truist FKA BB&T         Checking   Operating                       2538    381,066.36
Truist FKA BB&T         Checking   Disbursement                    9107           -
Truist FKA BB&T         Checking   Payroll                         7633           -
                                                                   Total 1,779,306.57
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A/B Part 2: 7.1 support
Deposits & Prepayments

Vendor                                  Description                                                 Amount
Avalon Risk Management Insurance Agency Collateral Policy Agreement U.S. Customs importing bond       850,000.00

                                                                                            Total     850,000.00
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A/B Part 2: 8.1 support
Deposits & Prepayments

Vendor                          Description                                         Amount
Raymond Leasing Corporation     Last months lease     Contract 329991                     784.18
Raymond Leasing Corporation     Last months lease     Contract 329992                   2,790.83
Raymond Leasing Corporation     Last months lease     Contract 329993                   2,500.34
Raymond Leasing Corporation     Last months lease     Contract 329994                   3,488.54
Raymond Leasing Corporation     Last months lease     Contract 329996                   2,322.60
Raymond Leasing Corporation     Last months lease     Contract 329997                   1,665.01
Raymond Leasing Corporation     Last months lease     Contract 329998                   3,437.01

                                                                            Total      16,988.51
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A/B Part 7: Fixed Asset - Analysis                                                       8-Jul-21
Depreciation Book: DEF_DEPR                               Page


AutoParts                                                                               EHubbard


Fixed Asset: FA Posting Date Filter: 01/01/08..06/30/21
Group Totals: FA Posting Group

                                                                                                                                          Acquisition Cost at Ending                             Book Value at Ending
No.                                                       Description                               Acquisition Date      Disposal Date                         Date   Depreciation Net Change                   Date


FURNITURE
FA000090                                                  Office Furniture                                  12/31/2008                                      6,561.84                 -6,561.84
FA000290                                                  OFFICE CUBICAL SYSTEM                             12/31/2008                                      7,000.00                 -7,000.00
FA000370                                                  OFFICE FURNITURE BLDG 2                            6/30/2009                                      6,337.74                 -6,337.74
FA000400                                                  42" FULL HDTV - 2YR SERVICE                        6/30/2009                                       756.88                    -756.88
FA000590                                                  BOOKCASE                                             2/5/2010                                       194.8                     -194.8
FA000770                                                  WORK TABLE 72"X30"                                11/28/2011                                       299.09                    -299.09
FA000780                                                  WORK TABLE 72"X30"                                11/28/2011                                       299.09                    -299.09
FA000790                                                  WORK TABLE 96"X36"                                11/28/2011                                        429.1                     -429.1
FA000800                                                  DESK 30"X60"                                      11/28/2011                                       320.74                    -320.74
FA000810                                                  DESK 30"X60"                                      11/28/2011                                       320.74                    -320.74
FA000820                                                  DESK 30"X60"                                      11/28/2011                                       320.74                    -320.74
FA000830                                                  DESK L-SHAPE 30" X 66"                            11/28/2011                                       514.74                    -514.74
FA000840                                                  BOOKCASE                                          11/28/2011                                       224.73                    -224.73
FA000970                                                  Lockers for Whse Employees                           8/5/2012                                      729.34                    -729.34
FA000990                                                  Desk and Credenza                                    8/1/2012                                      818.92                    -818.92
FA001000                                                  Desk and Credenza                                    8/1/2012                                      818.92                    -818.92
FA001020                                                  Desk and Credenza                                    8/1/2012                                      818.87                    -818.87
FA001030                                                  Book Case 5 shelf                                    8/1/2012                                      171.04                    -171.04
FA001040                                                  Book Case 5 shelf                                    8/1/2012                                      171.04                    -171.04
FA001050                                                  Book Case 5 shelf                                    8/1/2012                                      171.04                    -171.04
FA001060                                                  Desk and Credenza                                    8/1/2012                                      818.92                    -818.92
FA001070                                                  Desk and Credenza                                    8/1/2012                                      818.91                    -818.91
FA001080                                                  Desk small                                           8/1/2012                                      118.91                    -118.91
FA001090                                                  Metal Shop Desk                                      8/1/2012                                      377.46                    -377.46
FA001210                                                  Confrenece Room Chairs (8)                         12/1/2012                                      1,507.84                 -1,507.84
FA001220                                                  Starage Tables (2)                                 12/1/2012                                       400.51                    -400.51
FA001250                                                  5 Drawer Lateral File (4)                          12/1/2012                                      1,741.69                 -1,741.69
FA001260                                                  4 Drawer Lateral File (1)                          12/1/2012                                       394.93                    -394.93
FA001270                                                  Guest Chairs (4)                                   12/1/2012                                       316.06                    -316.06
FA001280                                                  Desk Chairs (6)                                    12/1/2012                                      1,471.70                 -1,471.70
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FA001340                           Visual Board                       4/1/2013                      389.7           -389.7
FA001350                           Mgr Chairs black leather (10)      4/1/2013                    1,884.74       -1,884.74
FA001360                           12' Table RCTK                     4/1/2013                     567.65         -567.65
FA001370                           Storage Cabinet                    4/1/2013                     292.16         -292.16
FA001470                           Tables for warehouse               4/1/2013                    3,374.32       -3,374.32
FA001580                           Desk & Cradenza for Lance          8/1/2013                      448.7           -448.7
FA001680                           Credenza for Shipping office      3/12/2014                     484.42         -484.42
FA001690                           Desk & Credenza for Acct Mgr      3/12/2014                    1,225.93       -1,225.93
FA001730                           Desk, Credenza, Chair             5/31/2014                    1,206.98       -1,206.98
FA001870                           Bookcase                          9/11/2014                     234.86         -234.86
FA001880                           Guest Chairs                      9/11/2014                     857.34         -857.34
FA001970                           Desks (2) Shipping Office          3/3/2015                    1,004.02       -1,004.02
FA001990                           Work Serf-Desktop Customer Ser     4/9/2015                     446.92         -446.92
FA002000                           Storage Cabinet/Printer Stand     4/13/2015                     200.26         -200.26
FA002220                           Bookcases (2)                     2/10/2016                     411.35         -411.35
FA002510                           Chairs (8) Front Conference Ro    3/14/2019                    1,416.95           -655     761.95
FA002670                           Workbench 96X36                    8/2/2020                     469.03             -88     381.03
FA002680                           Workbench 96X36                    8/2/2020                     469.03             -88     381.03
FA002690                           Workbench 96X36                    8/2/2020                     469.02             -88     381.02
Group Total: FURNITURE                                                                           51,099.71      -49,194.68   1,905.03


IT
FA000020                           MS NAV User License 1             2/29/2008                    4,997.69       -4,997.69
FA000110                           NAV SYSTEM SOFTWARE (4 )         12/31/2008                   19,990.74      -19,990.74
FA000120                           NAV SYSTEM SW MODULES            12/31/2008                   18,656.25      -18,656.25
FA000140                           EZ LABEL NETWORK (5 USERS)       12/31/2008                    5,060.18       -5,060.18
FA000300                           NAV SYSTEM SOFTWARE (USERS 1)    12/31/2008                    4,997.69       -4,997.69
FA000310                           NAV SYSTEM SOFTWARE (USERS 1)    12/31/2008                    4,997.69       -4,997.69
FA000320                           1 NAV LICENSE                     4/30/2009                    3,980.00       -3,980.00
FA000360                           1 NAV LICENSE                     6/30/2009                    3,980.00       -3,980.00
FA000420                           Lanham E-Ship with mait.          9/30/2009                   17,489.95      -17,489.95
FA000430                           EDI SOFTWARE W/ MAINT             9/30/2009                    5,713.44       -5,713.44
FA000460                           BARCODE READERS (2)               9/30/2009                    2,631.12       -2,631.12
FA000490                           NAV SYSTEM SOFTWARE (USERS 2)     9/30/2009                    9,995.37       -9,995.37
FA000500                           LABEL PRINTERS (2)                9/30/2009                    2,840.00       -2,840.00
FA000610                           NAV SYSTEM SOFTWARE (USERS 2)      6/6/2010                    8,990.81       -8,990.81
FA000670                           Tables (10) Gr w/maintenance      9/13/2011                    1,004.56       -1,004.56
FA000740                           DISASTER RECOVERY SERVER         11/28/2011                   12,735.05      -12,735.05
FA000760                           NAV SYSTEM SOFTWARE (USERS 2)    11/28/2011                    3,875.35       -3,875.35
FA000870                           NAV SYSTEM SOFTWARE (USERS 2)      2/5/2012                    7,440.67       -7,440.67
FA000900                           Zebra Label Printer                6/5/2012                    1,532.82       -1,532.82
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FA000920             Router Sonicwall TZ 215           6/5/2012                    1,123.70       -1,123.70
FA000930             Router Sonicwall VPN Lic (6)      6/5/2012                      336.7           -336.7
FA000940             Switch HP 48 port                 6/5/2012                    2,389.31       -2,389.31
FA001110             NAV SYSTEM SOFTWARE (USERS 2)     8/1/2012                    8,990.81       -8,990.81
FA001170             Datamax Label Printer (2)        10/7/2012                    2,973.04       -2,973.04
FA001180             Datamax Label Printer ( 1)       10/7/2012                    2,143.00       -2,143.00
FA001190             Computer (Desktop) Cust Serv     10/2/2012                    1,479.78       -1,479.78
FA001200             Computer (Desktop) Shipping      10/2/2012                    1,479.78       -1,479.78
FA001290             Bar Code Readers (2)             12/1/2012                    1,838.36       -1,838.36
FA001300             Bar Codes                        12/1/2012                   16,050.00      -16,050.00
FA001310             Label Printer Zebra              12/1/2012                    1,236.44       -1,236.44
FA001380             Datamax H-Class 6210              4/1/2013                    2,849.66       -2,849.66
FA001410             NAV User licenses (2)             4/1/2013                    8,990.81       -8,990.81
FA001420             NAV Starter system for China      4/1/2013                    6,278.50       -6,278.50
FA001430             Datamax Mark II Label printer     4/1/2013                    1,489.00       -1,489.00
FA001440             Server for China Portal           4/1/2013                    4,810.57       -4,810.57
FA001450             Laptop                            4/1/2013                    1,082.49       -1,082.49
FA001460             Desktop                           4/1/2013                    3,232.36       -3,232.36
FA001480             Server for Arlington              4/1/2013                   15,647.68      -15,647.68
FA001510             Label Rewinder LR4500            5/29/2013                      426.6           -426.6
FA001530             Computer (desktop for Jerri)      6/1/2013                    1,260.03       -1,260.03
FA001540             External Label Rewinders (2)      6/1/2013                        990            -990
FA001560             Software for China Project        6/1/2013                   41,811.56      -41,811.56
FA001570             Laptop                            8/1/2013                    1,480.86       -1,480.86
FA001600             Shipping Computer               10/14/2013                    1,667.05       -1,667.05
FA001610             22" Viewsonic Monitor            11/3/2013                     215.42         -215.42
FA001620             Desktop PC                       11/3/2013                    1,543.26       -1,543.26
FA001630             Computer (Jenny)                 12/6/2013                    1,225.01       -1,225.01
FA001640             Computer (Edgar)                12/17/2013                    1,489.52       -1,489.52
FA001660             Desktop Computer for Quang        2/6/2014                    1,434.93       -1,434.93
FA001700             HP Pro Book i5 (Jeff M)          4/18/2014                    1,311.85       -1,311.85
FA001710             HP Pro Book i7 (Glenda)          4/18/2014                    1,534.26       -1,534.26
FA001740             Computer work station-Returns    6/27/2014                    1,412.72       -1,412.72
FA001750             Remote Server NAV                6/27/2014                    7,565.29       -7,565.29
FA001760             HP ProBook 450                   7/18/2014                      733.5           -733.5
FA001770             HP LJ3000 Printer                7/18/2014                    1,124.94       -1,124.94
FA001800             NAV SYSTEM SOFTWARE (USERS 2)    7/30/2014                    8,990.81       -8,990.81
FA001830             Computer Desktop CS Manger        8/6/2014                    1,197.23       -1,197.23
FA001840             Computer Desktop CSR              8/6/2014                    1,197.22       -1,197.22
FA001860             HP Probook 650                    9/8/2014                    1,956.24       -1,956.24
FA001890             PROBOOK 650                      10/5/2014                    1,955.16       -1,955.16
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FA001910             HP FOLIO 9470M                    11/5/2014                    2,359.73       -2,359.73
FA001920             Battery Back-up for Server       12/29/2014                     884.05         -884.05
FA001930             Computer Desktop Purchasing       1/13/2015                    1,395.22       -1,395.22
FA001950             NAV SYSTEM SOFTWARE (USERS 2)     2/13/2015                    8,990.81       -8,990.81
FA001980             Computer Desktop Customer Ser      4/9/2015                    1,372.44       -1,372.44
FA002010             Desktop computer (accountant)     5/14/2015                    1,798.16       -1,798.16
FA002020             Label Printers (2)                 5/6/2015                    1,853.65       -1,853.65
FA002040             NAV SYSTEM SOFTWARE (USERS 2)      6/2/2015                    9,995.37       -9,995.37
FA002060             Computer Desktop 2 returns         7/5/2015                    2,299.84       -2,299.84
FA002070             Tables (10) Gr 8200 w/maint.      7/17/2015                    1,004.56       -1,004.56
FA002090             Computer desktop for Receiving     8/4/2015                    1,393.83       -1,393.83
FA002120             Lap Top for Kevin Jr.             10/6/2015                    2,243.09       -2,243.09
FA002170             NAV Application Server            12/9/2015                    2,009.12       -2,009.12
FA002180             SSD Card for Server                1/3/2016                     867.79         -867.79
FA002210             Label Printers (2)                2/17/2016                    1,967.99       -1,967.99
FA002280             HP Probook 650 Don French         11/2/2016                    1,920.04       -1,920.04
FA002290             New Server for Chleo EDI           3/4/2017                    4,149.71       -4,149.71
FA002300             CLEO Software                      3/5/2017                    9,742.50       -9,742.50
FA002330             Label Printer                     5/15/2017                    1,069.52       -1,069.52
FA002340             HP ProBook w/docking station       6/2/2017                    2,185.84       -2,185.84
FA002350             Label Printers (1)                 6/2/2017                    1,699.53       -1,699.53
FA002360             Label Printers (1)                6/15/2017                    1,699.53       -1,699.53
FA002370             Printer Lexmark (Purchasing)      9/11/2017                     778.32         -778.32
FA002380             HP Probook 650 w/docking           9/7/2017                    2,596.37       -2,596.37
FA002390             Lenovo ThinkPad P51s I7          10/16/2017                    2,743.14       -2,743.14
FA002400             Lenovo ThinkPad P51s I7          10/16/2017                    2,743.14       -2,743.14
FA002410             FedEx Manifest E-Ship - Lanham    11/6/2017                    2,706.25       -2,706.25
FA002420             HP Pro Book 650 G3                 2/1/2018                    2,309.28       -2,309.28
FA002430             Viewsonic 22"                      2/1/2018                     182.95         -182.95
FA002440             Lenovo ThinkPad P51s I7            4/3/2018                    2,828.54       -2,828.54
FA002450             HP PROBOOK W/DOCKING STATION       7/6/2018                    2,410.73       -2,400.00     10.73
FA002470             HP ProBook 450 G4 Shipping       10/16/2018                    1,105.77           -999     106.77
FA002490             Intel i5 NUC Comp Kit             12/4/2018                    1,184.73       -1,019.00    165.73
FA002530             Lenovo Carbon X1 6300U Laptop      5/9/2019                    2,178.70       -1,558.00     620.7
FA002540             HP 250 G6 notebook I5              6/4/2019                     898.19            -622     276.19
FA002550             Lenovo IdealPad mix 510           9/19/2019                    1,348.80           -786      562.8
FA002570             HP EliteBook 850 G4              12/30/2019                    2,544.09       -1,277.00   1,267.09
FA002580             Intel i5 NUC Comp Kit            12/30/2019                    1,244.88           -625     619.88
FA002590             Label Printers (3)                 1/2/2020                    5,109.40       -2,551.00   2,558.40
FA002600             Label Printers (1) Zebra RW440     1/3/2020                    1,281.68           -640     641.68
FA002610             HP EliteBook 850 G4                2/3/2020                    2,132.95           -999    1,133.95
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FA002620                       Floating PC's (3) Refurbished      4/1/2020                     1,907.77            -795     1,112.77
FA002630                       Floating PC's (3) New              4/1/2020                     3,031.68        -1,260.00    1,771.68
FA002640                       NAV Application Server            8/31/2020                    14,145.94        -3,943.00   10,202.94
FA002650                       Label Printer (1) Datamax          8/2/2020                     1,745.53            -531     1,214.53
FA002660                       Label Printer (1) Datamax          8/2/2020                     1,745.53            -531     1,214.53
FA002700                       Intel 5 NUC Comp Kit              11/2/2020                      996.01             -223      773.01
FA002710                       Intel 5 NUC Comp Kit              11/2/2020                      996.01             -223      773.01
FA002720                       Intel 5 NUC Comp Kit             11/16/2020                     1,342.84            -278     1,064.84
FA002730                       Lenovo ThinkPad E15 !5            11/2/2020                     1,086.29            -239      847.29
Group Total: IT                                                                              436,082.66      -409,144.14   26,938.52


LEASE
FA000960                       Network & Cabling                  7/1/2012                    77,421.17       -69,675.00    7,746.17
FA000980                       Warehouse Racking                 9/10/2012                   494,608.54      -441,004.00   53,604.54
FA001130                       Security Install                   8/1/2012                    16,577.94       -14,751.00    1,826.94
FA001230                       Signage for Warehouse             12/1/2012                     9,269.46        -7,952.00    1,317.46
FA001240                       Warehoues Striping & Sealing      12/1/2012                     2,610.99        -2,245.00     365.99
FA001490                       APDI sign in Arlington             4/1/2013                     4,518.91        -3,731.00     787.91
FA001780                       Air Line System                    7/5/2014                     2,082.59        -1,822.00     260.59
FA001850                       Security Protect (additional)      9/1/2014                     1,075.14        -1,075.14
FA001940                       Chain link gate Seccurity stnd    2/20/2015                     1,476.28        -1,476.28
FA001960                       Security Protect (additional)      2/1/2015                     5,604.13        -5,604.13
FA002030                       Security Protect (additional)      5/5/2015                         972             -972
FA002050                       Overhead Door Signs (numbered)     6/2/2015                     2,267.06        -2,267.06
FA002100                       Racking for Tunnel (1 Level)      9/30/2015                     6,351.03        -6,351.03
FA002110                       New Electrical Circuits           9/30/2015                    13,964.26       -13,964.26
FA002130                       Racing in QC area                 11/2/2015                    18,537.81       -18,537.81
FA002230                       Concrete Wheel Stops Vision       6/30/2016                     1,515.50        -1,515.50
FA002240                       Concrete Wheel Stops              6/30/2016                     1,299.00        -1,299.00
FA002250                       Fence Repair - Vision             6/30/2016                     1,109.56        -1,109.56
Group Total: LEASE                                                                           661,261.37      -595,351.77   65,909.60


MACHINE
FA000180                       Conveyor 24'                     12/31/2008                     2,381.50        -2,381.50
FA000570                       Hitch Pin Locks (10)             12/30/2009                     4,379.00        -4,379.00
FA000580                       HITCH PIN LOCKS (10)               2/5/2010                     2,982.97        -2,982.97
FA000660                       AIR COMPRESSOR WITH WIRING       12/30/2010                     1,226.57        -1,226.57
FA001140                       Streach Wrap Machine              10/7/2012                    13,487.28       -13,487.28
FA001150                       Streach Wrap Machine              10/7/2012                    13,487.28       -13,487.28
FA001160                       Streach Wrap Machine              10/7/2012                    13,487.28       -13,487.28
FA001500                       Trailok-KP012805-TrlrLocks-20      5/3/2013                     5,953.40        -5,953.40
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FA001550                         Pedestal Fans (4)                         6/1/2013                           1,623.75         -1,623.75
FA001590                         Air Compressor                          10/12/2013                            878.01            -878.01
FA001650                         Bulk Signage - material                 12/17/2013                             855.1             -855.1
FA001720                         (2) Slip-Sheet attachments               4/24/2014                         23,426.98         -23,426.98
FA001790                         Air Compressor                           7/30/2014                            896.38            -896.38
FA001810                         Flex Conveyor                            7/30/2014                           2,700.00         -2,700.00
FA001820                         Extension Arm for Streach Wrap            7/6/2014                           1,163.69         -1,163.69
FA001900                         KINGPIN LOCKS (20)                       10/1/2014                           6,033.92         -6,033.92
FA002080                         Manual Pallet Jack (3)                    7/4/2015                               972              -972
FA002140                         Manual Pallet Jack (4)                   12/6/2015                           1,081.16         -1,081.16
FA002150                         Drum Fan (3)                             12/6/2015                           1,147.41         -1,147.41
FA002160                         Compressor 26 gallon                     12/6/2015                            226.77            -226.77
FA002190                         StreachWrap Machine (Cousins)            1/11/2016                         11,458.11         -11,458.11
FA002200                         StreachWrap Machine (Cousins)            1/11/2016                         11,458.11         -11,458.11
FA002260                         Floor Scales                             8/18/2016                           1,095.00         -1,068.00            27
FA002270                         Gantry Crane                             8/30/2016                           2,261.00         -2,187.00            74
FA002310                         Leak Testing                              3/1/2017                           6,226.00         -5,398.00           828
FA002320                         Leak Testing Station                      4/6/2017                           3,733.17         -3,160.00        573.17
FA002460                         Rack for Fuel Pump Aisle East            8/29/2018                         15,201.55          -4,326.00      10,875.55
FA002480                         Compressor 60 Gallon for QC              12/7/2018                           1,731.98         -1,480.00        251.98
FA002500                         Rack for Fuel Pump Aisle West             2/3/2019                         15,201.55          -3,674.00      11,527.55
FA002560                         Racking for Fuel Pumps                   10/1/2019                         15,166.91          -2,646.00      12,520.91
Group Total: MACHINE                                                                                       181,923.83        -145,245.67      36,678.16


OFFICE
FA000530                         Capitalize Photo Lincense               12/30/2009                         15,562.50         -15,562.50
Group Total: OFFICE                                                                                         15,562.50         -15,562.50           0.00
Total
                                                                                                          1,345,930.07     -1,214,498.76     131,431.31




                                                                  Part 7. 39          Office Furniture    51,099.71        -49,194.68        1,905.03

                                                                  Part 7. 41          Office Equipment   451,645.16       -424,706.64       26,938.52

                                                                  Part 8. 50          Other              843,185.20       -740,597.44      102,587.76
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A/B Part 8: 50 support
Equipment Lease
                                                                                                                                    Remaining
                                                                                                                                    Months as of Remainig payments (less
Vendor    Manufacturer Description     Model           Lease/Contract #       Comments                       Amount      Lease End Filing Date     last month paid in advance
Raymond   Raymond      Reach           7500R35TT       329991                 Includes battery and charger     732.60     9/5/2021               2                      732.60
Raymond   Raymond      Orderpicker     560OPC30TT      329992                 Includes battery and charger     697.02    12/25/2021              5                    2,788.06
Raymond   Raymond      Orderpicker     560OPC30TT      329992                 Includes battery and charger     697.02    12/25/2021              5                    2,788.06
Raymond   Raymond      Orderpicker     560OPC30TT      329992                 Includes battery and charger     697.02    12/25/2021              5                    2,788.06
Raymond   Raymond      Orderpicker     560OPC30TT      329992                 Includes battery and charger     697.02    12/25/2021              5                    2,788.06
Raymond   Raymond      Orderpicker     560OPC30TT      329993                 Includes battery and charger     635.44    12/15/2021              5                    2,541.77
Raymond   Raymond      Orderpicker     560OPC30TT      329993                 Includes battery and charger     635.44    12/15/2021              5                    2,541.77
Raymond   Raymond      Orderpicker     560OPC30TT      329993                 Includes battery and charger     635.44    12/15/2021              5                    2,541.77
Raymond   Raymond      Orderpicker     560OPC30TT      329993                 Includes battery and charger     635.44    12/15/2021              5                    2,541.77
Raymond   Raymond      Orderpicker     560OPC30TT      329994                 Includes battery and charger     697.01    12/25/2021              5                    2,788.06
Raymond   Raymond      Orderpicker     560OPC30TT      329994                 Includes battery and charger     697.01    12/25/2021              5                    2,788.06
Raymond   Raymond      Orderpicker     560OPC30TT      329994                 Includes battery and charger     697.01    12/25/2021              5                    2,788.06
Raymond   Raymond      Orderpicker     560OPC30TT      329994                 Includes battery and charger     697.01    12/25/2021              5                    2,788.06
Raymond   Raymond      Orderpicker     560OPC30TT      329994                 Includes battery and charger     697.01    12/25/2021              5                    2,788.06
Raymond   Raymond      Orderpicker     560OPC30TT      329995                 Includes battery and charger     648.40     5/20/2022             10                    6,484.00
Raymond   Raymond      Orderpicker     560OPC30TT      329996                 Includes battery and charger     770.92     6/20/2023             23                   16,960.17
Raymond   Raymond      Orderpicker     560OPC30TT      329996                 Includes battery and charger     770.92     6/20/2023             23                   16,960.17
Raymond   Raymond      Orderpicker     560OPC30TT      329996                 Includes battery and charger     770.92     6/20/2023             23                   16,960.17
Raymond   Raymond      Reach           7500R35TT       329997                 Includes battery and charger     829.44     7/15/2023             24                   19,077.12
Raymond   Raymond      Reach           560OPC30TT      329997                 Includes battery and charger     829.44     7/15/2023             24                   19,077.12
Raymond   Raymond      Reach           7500R35TT       329998                 Includes battery and charger     856.13     2/23/2023             19                   15,410.30
Raymond   Raymond      Reach           7500R35TT       329998                 Includes battery and charger     856.13     2/23/2023             19                   15,410.30
Raymond   Raymond      Reach           7500R35TT       329998                 Includes battery and charger     856.13     2/23/2023             19                   15,410.30
Raymond   Raymond      Reach           7500R35TT       329998                 Includes battery and charger     856.13     2/23/2023             19                   15,410.30
Toyota    Toyota       LP Lift Truck   8FGCU25-68425   50243341-10000238464                                    630.24     3/31/2021                                     630.24
Toyota    Toyota       LP Lift Truck   8FGCU25-C5562   50422293-10000385898                                    735.02    10/23/2025             52                   38,221.04
Toyota    Toyota       LP Lift Truck   8FGCU25-90018   50307588-10000293318                                    642.41     2/15/2023             19                   12,205.79
Toyota    Toyota       LP Lift Truck   8FGCU25-95188   50326007-10000309843                                    659.34     9/19/2023             26                   17,142.84
Toyota    Toyota       LP Lift Truck   8FGCU25-95189   50326007-10000309844                                    659.35     9/19/2023             26                   17,143.10
Toyota    Toyota       LP Lift Truck   8FGCU25-95186   50326007-10000309845                                    659.35     9/19/2023             26                   17,143.10
                                                                                                             21,577.75                                             295,638.23
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 Fill in this information to identify the case:

 Debtor name           Automotive Parts Distribution International, LLC

 United States Bankruptcy Court for the:             Northern District of Texas

 Case number (if known)            21-41655-elm11
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
                                                                                                                                                              12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
           No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
           Yes. Fill in all of the information below.

 Part 1:       List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
         See attached
 2.1.     "206D Part 1" Support                       Describe debtor's property that is subject to a lien          Unknown                     Unknown
         Creditor's Name




         Creditor's mailing address                   Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
         Creditor's email address, if known               Yes
                                                      Is anyone else liable on this claim?
         Date debt was incurred                          No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account number

         Do multiple creditors have an                As of the petition filing date, the claim is:
         interest in the same property?               Check all that apply
             No
             Yes. Specify each creditor,                 Contingent
         including this creditor and its relative        Unliquidated
         priority.
                                                         Disputed




 3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.       Unknown




Official Form 206D                                  Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 2
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 Debtor      Automotive Parts Distribution International, LLC                                      Case number (if known)        21-41655-elm11
              Name


 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did you   Last 4 digits of account
                                                                                                               enter the related creditor?       number for this entity
                                                                                                               Line 2._




        Name and address                                                                                    On which line in Part 1 did you       Last 4 digits of account
                                                                                                            enter the related creditor?           number for this entity
                                                                                                            Line 2._




        Name and address                                                                                    On which line in Part 1 did you       Last 4 digits of account
                                                                                                            enter the related creditor?           number for this entity
                                                                                                            Line 2._




        Name and address                                                                                    On which line in Part 1 did you       Last 4 digits of account
                                                                                                            enter the related creditor?           number for this entity
                                                                                                            Line 2._




        Name and address                                                                                    On which line in Part 1 did you       Last 4 digits of account
                                                                                                            enter the related creditor?           number for this entity
                                                                                                            Line 2._




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                               page 2 of 2
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Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property

Part 1:
2.1

Creditor's Name                                               Truist Bank

                                                              7701 Airport Center Drive, 3rd Floor, Greensboro, NC
Creditor's Mailing Address                                    27409. Attn: Operations Manager-Supply Chain Finance
Creditor's Email Address                                      jack.sickling@truist.com
Date debt was incurred                                        Unknown
Last 4 digits of account number
Do multiple creditors have an interest in the same property   Unknown
Describe debtor's property that is subject to a lien          Unknown

Describe the lien                                             Supply chain finance Confirmed Receivables Program
is the creditor an insider or related party                   No
Is anyone else liable on this claim                           No
Amount of claim (column A)                                    Unknown
Value of collateral supporting claim (column B)               Unknown


2.2
Creditor's Name                                               Bank of Montreal
                                                              24th Floor, First Canadian Place, Toronto, Ontario, Canada
                                                              M5X 1A1. Attention: Director, Supply Chain & Trade
Creditor's Mailing Address                                    Solutions
Creditor's Email Address
Date debt was incurred                                        Unknown
Last 4 digits of account number
Do multiple creditors have an interest in the same property   Unknown
Describe debtor's property that is subject to a lien          Unknown

Describe the lien                                             Supply chain finance Confirmed Receivables Program
is the creditor an insider or related party                   No
Is anyone else liable on this claim                           No
Amount of claim (column A)                                    Unknown
Value of collateral supporting claim (column B)               Unknown


2.3
Creditor's Name                                               Deutsche Bank AG New York Branch

Creditor's Mailing Address                                    60 Wall Street, 15th Floor, New York, NY 10005
Creditor's Email Address
Date debt was incurred                                        Unknown
Last 4 digits of account number
Do multiple creditors have an interest in the same property   Unknown
Describe debtor's property that is subject to a lien          Unknown

Describe the lien                                             Supply chain finance Confirmed Receivables Program
is the creditor an insider or related party                   No
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Is anyone else liable on this claim               No
Amount of claim (column A)                        Unknown
Value of collateral supporting claim (column B)   Unknown
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 Fill in this information to identify the case:

 Debtor name         Automotive Parts Distribution International, LLC

 United States Bankruptcy Court for the:            Northern District of Texas

 Case number (if known)            21-41655-elm11
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:       List All Creditors with PRIORITY Unsecured Claims
        1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

              No. Go to Part 2.

              Yes. Go to line 2.

        2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
           with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                     Total claim           Priority amount

 2.1.       Priority creditor's name and mailing address                   As of the petition filing date, the claim is:             $   204,396.78        $   202,665.78
                                                                           Check all that apply.
                                                                               Contingent
            See attached "206E/F Part 1" support                               Unliquidated
                                                                               Disputed


            Date or dates debt was incurred                                Basis for the claim:



            Last 4 digits of account                                       Is the claim subject to offset?
            number                                                             No
                                                                               Yes
            Specify Code subsection of PRIORITY unsecured claim:
            11 U.S.C. § 507(a) (      )




 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
        3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
           out and attach the Additional Page of Part 2.

                                                                                                                                                      Amount of claim

 3.1.       Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                             $   35,014,238.69
                                                                           Check all that apply.
                                                                               Contingent
            See attached "206E/F Part 2" support                               Unliquidated
                                                                               Disputed

                                                                           Basis for the claim:




            Date or dates debt was incurred                                Is the claim subject to offset?
                                                                               No
            Last 4 digits of account number                                    Yes




 Part 3:       List Others to Be Notified About Unsecured Claims
Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 1 of 2
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 Debtor      Automotive Parts Distribution International, LLC                                      Case number (if known)        21-41655-elm11
              Name


4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.
   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

       Name and mailing address                                                                   On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                  related creditor (if any) listed?                account number, if
                                                                                                                                                   any
 4.1
       See attached "206E/F Part 3" support                                                       Line

                                                                                                     Not listed. Explain


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims
5. Add the amounts of priority and nonpriority unsecured claims.

                                                                                                                   Total of claim amounts

 5a. Total claims from Part 1                                                                        5a.       $   204,396.78

 5b. Total claims from Part 2                                                                        5b.   +   $   35,014,238.69


 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                             5c.       $   35,218,635.47




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 2 of 2
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Official Form 206E/F
Schedule E/F: Creditors who have unsecured Claims

Part 1: PRIORITY Unsecured claims
2
                                                                                                                                                                                                                               Last 4      Is claim
                                                                                                                                                           Priority Claim                                                      digits of   subject to   Code Subsection for
Line      Creditor                         Mailing Address 1                  Mailing Address 2      City          State     ZIP          Total Claim      Amount            Status         Dates Incured   Basis for Claim    account     offset       Priority
                                                                                                                                                                                            MAY 2021 - JUL
2.1       ACA Team LLC                     3005 E. Abram St.                  Suite A                Arlington     TX        76010             56,957.37         56,957.37                  2021           Supplier Vendor                              11 U.S.C. § 507(a)(4).
                                                                                                                                                                           Contingent,
2.11      Alma Gonzalez                    3130 Nutting Dr.                                          Dallas        TX        75227               592.00             592.00 Unliquidated     44197           Unused Vacation                             11 U.S.C. § 507(a)(4).
                                                                                                                                                                                                            Payroll -
2.12      Ascensus Trust                   1655 43rd Street South             Suite 100              Fargo         ND        58103              5,287.68          5,287.68                  JUL 2021        Retirement                                  11 U.S.C. § 507(a)(5).
                                                                                                                                                                           Contingent,
2.13      Ben Gottleib                     52 Essex Street                    Apt 4A                 Deep River    CT        06417              2,307.69          2,307.69 Unliquidated     44197           Unused Vacation                             11 U.S.C. § 507(a)(4).
                                                                                                                                                                           Contingent,
2.14      Charles Pontecorvo               218 Randolph Rd.                                          Middletown    CT        6457               5,994.09          5,613.46 Unliquidated     44197           Unused Vacation                             11 U.S.C. § 507(a)(4).
2.15      Colonial Life                    Premium Processing                 PO Box 903             Columbia      SC        29202-0903         1,540.28          1,540.28                  44381           Supplier Vendor                             11 U.S.C. § 507(a)(5).
          COMMONWEALTH OF
2.16      PENNSYLVANIA                     DEPARTMENT OF REVENUE              PO BOX 280901          HARRISBURG    PA        17128-0901          165.31             165.31                  44386           Payroll - Tax                               11 U.S.C. § 507(a)(8).

                                           The CT Paid Leave
                                           administrative offices are
                                           virtual and all of our processes                                                                                                                 APR 2021-JUN
2.17      CT Paid Leave Authority          are digital and electronic.                                                                           803.84             803.84 Unliquidated     2021            Payroll - Tax                               11 U.S.C. § 507(a)(8).
                                                                                                                                                                           Contingent,
2.18      David Gutierrez                  304 Branson Rd.                                           Roanoke       TX        76262              1,920.00          1,920.00 Unliquidated     44197           Unused Vacation                             11 U.S.C. § 507(a)(4).
          Department of the Treasury       Internal Revenue Service                                                                                                                         JAN 2020-DEC
2.19      Internal Revenue Service         Center                                                    Ogden         UT        84201-0012          100.00                      Unliquidated   2020            Tax                                         11 U.S.C. § 507(a)(8).
                                                                                                                   Ontario                                                   Contingent,
2.20      Don French                       612-1400 Dixie Road                                       Mississauga   Canada    L5E 3E1            8,278.85          8,278.85   Unliquidated   44197           Unused Vacation                             11 U.S.C. § 507(a)(4).
                                                                                                                                                                             Contingent,
2.21      Eric Hubbard                     1049 Saint Andrews Dr.                                    Burleson      TX        76028              3,730.77          3,730.77   Unliquidated   44197           Unused Vacation                             11 U.S.C. § 507(a)(4).
                                                                                                                                                                             Contingent,
2.22      Gelnda Ardelean                  15404 Miller Road                                         Plano         IL        60545              2,480.77          2,480.77   Unliquidated   44197           Unused Vacation                             11 U.S.C. § 507(a)(4).
                                                                                                                                                                             Contingent,
2.23      Hung-Chang Huang                 926 White Dove Drive                                      Arlington     TX        76016              2,576.92          2,576.92   Unliquidated   44197           Unused Vacation                             11 U.S.C. § 507(a)(4).
                                                                                                                                                                             Contingent,
2.24      Jaira Orejuela                   615 Briaroaks Ct.                                         Arlington     TX        76011               456.64             456.64   Unliquidated   44197           Unused Vacation                             11 U.S.C. § 507(a)(4).
                                                                                                                                                                             Contingent,
2.25      Jean Gallegos                    3109 E. Park Row Dr.               Apt 248                Arlington     TX        76010              1,040.00          1,040.00   Unliquidated   44263           Unused Vacation                             11 U.S.C. § 507(a)(4).
                                                                                                                                                                             Contingent,    1/1/2021,
2.26      Jeff Marquis                     8039 Wood Creek Dr.                                       Bridgeville   PA        15017              8,136.92          8,076.92   Unliquidated   7/7/2021        Unused Vacation                             11 U.S.C. § 507(a)(4).
                                                                                                                                                                             Contingent,    9/6/2018,       Unused Vacation,
2.27      Jeff Schwartz                    2568 S. Davis Blvd.                                       Bountiful     UT        84010             12,622.85         12,478.85   Unliquidated   1/1/2021        Supplier Vendor                             11 U.S.C. § 507(a)(4).
                                                                                                                                                                             Contingent,
2.28      Jerri Clark                      402 Shirley Dr.                                           Alvarado      TX        76009              2,130.77          2,130.77   Unliquidated   44197           Unused Vacation                             11 U.S.C. § 507(a)(4).
                                                                              1000 E. Pleasant Run                                                                           Contingent,
2.29      Joe White                        P.O.Box 445                        Rd.                    Cedar Hill    TX        75104               691.20             691.20   Unliquidated   44197           Unused Vacation                             11 U.S.C. § 507(a)(4).
                                                                                                                                                                             Contingent,
2.30      John Carrano                     7 Bailey Dr.                                              West Haven    CT        06516              8,841.92          8,841.92   Unliquidated   44197           Unused Vacation                             11 U.S.C. § 507(a)(4).
                                                                                                                                                                             Contingent,
2.31      John Carrano Jr.                 7 Bailey Dr.                                              West Haven    CT        06516              1,730.77          1,730.77   Unliquidated   44197           Unused Vacation                             11 U.S.C. § 507(a)(4).
                                                                                                                                                                             Contingent,
2.32      John DeCampos                    25 Walnut Terrace                                         Naugatuck     CT        6770               6,569.01          5,587.50   Unliquidated   44197           Unused Vacation                             11 U.S.C. § 507(a)(4).
                                                                                                                                                                             Contingent,
2.33      Kevin O'Connor Jr.               2103 Leverenz                                             Naperville    IL        60564              5,560.19          5,495.19   Unliquidated   44197           Unused Vacation                             11 U.S.C. § 507(a)(4).
                                                                                                                                                                             Contingent,
2.34      Kim Deaton                       940 Fannin Drive                                          Lantana       TX        76226              1,730.77          1,730.77   Unliquidated   44197           Unused Vacation                             11 U.S.C. § 507(a)(4).
                                                                                                                                                                             Contingent,
2.35      Lauren Swanson                   7325 Ellis Road                                           Fort Worth    TX        76112              1,346.15          1,346.15   Unliquidated   44197           Unused Vacation                             11 U.S.C. § 507(a)(4).
                                                                                                                                                                             Contingent,
2.36      Maria Bustos                     928 Timber Oaks Ln.                                       Arlington     TX        76010              1,141.20          1,141.20   Unliquidated   44197           Unused Vacation                             11 U.S.C. § 507(a)(4).
                                                                                                                                                                                            JUN 2021-JUL
2.37      Office of the Attorney General   P.O. Box 659791                                           San Antonio   TX        78265-9791          891.70             891.70 Unliquidated     2021            Payroll related                             11 U.S.C. § 507(a)(4).
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                                                                                                                                   Contingent,
2.38   Olivia Barrientos            525 W Westchester Pkwy   Apt 1622   Grand Prairie    TX   75052          1,040.00     1,040.00 Unliquidated   44197          Unused Vacation   11 U.S.C. § 507(a)(4).
                                                                                                                                   Contingent,
2.39   Quang Vo                     3524 Newcomer Ln                    Flower Mound     TX   75022          2,373.08     2,373.08 Unliquidated   44197          Unused Vacation   11 U.S.C. § 507(a)(4).
                                                                                                                                   Contingent,
2.40   Ralph Badillo                2672 Blackstone Dr.                 Grand Prairie    TX   75052           732.48        732.48 Unliquidated   44197          Unused Vacation   11 U.S.C. § 507(a)(4).
                                                                                                                                   Contingent,
2.41   Ricardo Moran                3117 Parham Dr.          Apt 168    Grand Prairie    TX   75052          2,584.62     2,584.62 Unliquidated   44197          Unused Vacation   11 U.S.C. § 507(a)(4).
                                                                                                                                   Contingent,
2.42   Richard Torres               5437 Big Fork Rd.                   Fort Worth       TX   76119           710.00        710.00 Unliquidated   44197          Unused Vacation   11 U.S.C. § 507(a)(4).
                                                                                                                                                  JUN 2021-JUL
2.43   Stride Staffing              P.O. Box 832920                     Richardson       TX   75083-2920    41,766.95    41,766.95                2021           Supplier Vendor   11 U.S.C. § 507(a)(4).
                                                                                                                                                  APR 2021-JUN
2.44   Texas Workforce Commission   101 E. 15th Street                  Austin           TX   78778             40.63        40.63                2021           Payroll - Tax     11 U.S.C. § 507(a)(8).
                                                                                                                                                  APR 2021-JUN
2.45   UTAH STATE TAX COMMISSION 210 NORTH 1950 WEST                    SALT LAKE CITY   UT   84134-0100     2,842.21     2,842.21                2021           Payroll - Tax     11 U.S.C. § 507(a)(8).
                                                                                                                                   Contingent,
2.46   Vance Scarborough            1914 Stafford Rd                    Grapevine        TX   76051          5,521.15     5,521.15 Unliquidated   44197          Unused Vacation   11 U.S.C. § 507(a)(4).
                                                                                                                                   Contingent,
2.47   Venssa Reyna                 813 Connally Terrace                Arlington        TX   76010          1,160.00     1,160.00 Unliquidated   44197          Unused Vacation   11 U.S.C. § 507(a)(4).
                                                                                              Total:       204,396.78   202,665.64
                                        Case 21-41655-elm11 Doc 115 Filed 07/23/21                                               Entered 07/23/21 18:15:10                                Page 30 of 40


Official Form 206E/F
Schedule E/F: Creditors who have unsecured Claims

Part 2: NONPRIORITY Unsecured claims
3
                                                                                                                                                                                                                                                Is claim
                                                                                                                                                                                                                                  Last 4 digits subject to
Line        Creditor                                Mailing Address 1         Mailing Address 2       City             State     ZIP          Total Claim      Status          Dates Incured        Basis for Claim               of account    offset
3.1         1800 RADIATOR                           4401 PARK ROAD                                    BENICIA          CA        94510             10,399.86 Uniliquidated     MAY 2008-JUN 2021    Warranty claim
3.11        4 M PARTS WAREHOUSE                     402 E. CHAMBERS ST                                CLEBURNE         TX        76031                749.72 Uniliquidated     JUL 2015-JUL 2021    Warranty claim
3.12        A Truck Express                         4033 Mint Way                                     Dallas           TX        75237                158.40 Unliquidated      JUL 2021             Supplier Vendor

3.13        AAP INC. dba STATE AUTOMOTIVE WHSE      168 CARPENTER STREET                              PROVIDENCE       RI        02903                781.91   Uniliquidated   NOV 2011- JUL 2021   Warranty claim
3.14        ABC AUTO PARTS                          920 W. MARSHALL AVE                               LONGVIEW         TX        75604              3,528.05   Uniliquidated   MAY 2015-JUN 2021    Warranty claim
3.15        ACE RADIATOR                            2319 W COLISEUM BLVD                              FT WAYNE         IN        46808                138.73   Uniliquidated   APR 2016-SEPT 2020   Warranty claim
3.16        ACI PARTS WAREHOUSING INC               330 32ND STREET                                   WYOMING          MI        49548              8,780.46   Uniliquidated   APR 2020-JUL 2021    Warranty claim
3.17        ACTIVE RADIATOR                         3675 AMBER STREET                                 PHILADELPHIA     PA        19134                 92.28   Uniliquidated   DEC 2016-MAR 2021    Warranty claim
                                                                                                                                                                                                    Warranty claim, various
                                                                                                                                                             Uniliquidated,                         other marketing and program
3.18        ADVANCE AUTO                            PO BOX 2710               5008 AIRPORT ROAD       ROANOKE          VA        24012            403,108.83 Disputed          APR 2019-JUL 2021    expenses
3.19        AFS/IBEX A division of MetaBank         P.O. Box 650786                                   Dallas           TX        75265-0786                - Unliquidated      MAR 2021-JUL 2021    Supplier Vendor
3.20        Aftermarket Auto Parts Alliance, Inc.   2706 Treble Creek                                 San Antonio      TX        78258             20,160.03                   APR 2021-JUN 2021    Supplier Vendor
3.21        AGILITY AUTO PARTS                      34 TRADEWINDS DR.                                 OTTAWA           ON        K2G 6Y5              345.58 Uniliquidated     MAY 2020-APR 2021    Warranty claim
3.22        Agility Auto Parts Inc.                 1010 Polytek Street       Unit 19                 Ottawa           Ontario   K1J 9J1          680,723.69                   NOV 2020-JUN 2021    Supplier Vendor
3.23        ALLIED AUTO STORES                      43815 S. GRIMMER BLVD.                            FREMONT          CA        94538              1,481.54 Uniliquidated     FEB 2014-APR 2021    Warranty claim
3.24        American Carriers Inc.                  P.O. Box 551549                                   Dallas           TX        75355-1549           340.00 Unliquidated      JUL 2021             Supplier Vendor
3.25        ANY PART GROUP PURCHASING               35 BAYSHORE ROAD                                  BAYSHORE         NY        11706              1,285.80 Uniliquidated     MAY 2019-JUN 2021    Warranty claim
3.26        ARNOLD OIL CO OF AUSTIN                 5909 BURLESON ROAD                                AUSTIN           TX        78744                892.72 Uniliquidated     MAY 2020-MAY 2021    Warranty claim

3.27        ARNOLD OIL COMPANY                      PO BOX 7889                                       CORPUS CHRISTI   TX        78467                610.60   Uniliquidated   MAY 2016-MAY 2021    Warranty claim
3.28        ATMOS ENERGY                            P.O. BOX 740353                                   CINCINNATI       OH        45274-0353           205.34                   JUL 2021             Utility Provider
3.29        AUTOKOOL                                2295 52ND AVE                                     LACHINE          QC        H8T3C3             1,293.39   Uniliquidated   DEC 2008-JUN 2021    Warranty claim
3.30        AUTOMOBILE ACCESSORIES CO. INC.         2304 CHURN CREEK RD                               REDDING          CA        96002                797.42   Uniliquidated   JUN 2020-MAY 2021    Warranty claim
3.31        Automotive Distribution Network, LLC    Dept #816                 PO BOX 1000             Memphis          TN        38148-0816         1,346.65                   APR 2021-JUN 2021    Supplier Vendor
3.32        AUTOQUEST INTERNATIONAL, LLC            4249 SOUTH DRIVE                                  HOUSTON          TX        77053                 15.04   Uniliquidated   MAR 2014-JUN 2021    Warranty claim
3.33        AUTO-WARES INC.                         440 KIRTLAND S.W.                                 GRAND RAPIDS     MI        49507             12,419.19   Uniliquidated   JAN 2012-JUL 2021    Warranty claim


                                                                                                                                                                                                    Warranty claim, various
                                                                                                                                                             Uniliquidated,                         other marketing and program
3.34        AUTOZONE                                123 SOUTH STREET                                  MEMPHIS          TN        38103          1,300,845.92 Disputed          FEB 2018-JUL 2021    expenses
3.35        BCI IV Operating Partnership LP         P.O. Box 734009                                   DALLAS           TX        75373-4009                  Unliquidated      7/1/2021             Supplier Vendor
3.36        BELLMEAD RADIATOR                       1204 NEW DALLAS HWY                               WACO             TX        76705                523.24 Uniliquidated     DEC 2011-JUN 2021    Warranty claim
3.37        B-KOOL LLC                              60 CALLE LINDA CT                                 SEDONA           AZ        86336                 17.99 Uniliquidated     JUN 2020-AUG 2020    Warranty claim
3.38        Black Creek Group                       2300 N. Field Street      Suite 2125              Dallas           TX        75201                       Unliquidated      7/1/2021             Supplier Vendor

3.39        CAINE & WEINER CO, INC                  5805 SEPULVEDA BLVD       FL 4                    SHERMAN OAKS CA            91411-2532               - Uniliquidated      APR 2021-JUN 2021    Supplier Vendor
3.40        CAPITAL CITY AUTO PARTS                 1882 E. WILLIAMS ST                               CARSON CITY  NV            89701                242.68 Uniliquidated     OCT 2019-JUL 2021    Warranty claim
3.41        CAR PARTS DIST. CENTER INC.             95A PLAISTOW ROAD                                 PLAISTOW     NH            3865                 681.58 Uniliquidated     JUN 2009-OCT 2011    Warranty claim


                                                                                                                                                                                                    Warranty claim, various
                                                                                                                                                             Uniliquidated,                         other marketing and program
3.42        CARQUEST                                4721 HARGROVE ROAD                                RALEIGH          NC        27616            261,312.16 Disputed          MAY 2019-JUL 2021    expenses
3.43        CASH SALES                              EMPLOYEE PURCHASE                                 Dallas           TX        75212                 22.33 Uniliquidated     APR 2009-JUL 2021    Warranty claim
3.44        CENCAL AUTO & TRUCK PARTS               1945 W. FRONT STREET                              SELMA            CA        93662                186.98 Uniliquidated     OCT 2020-FEB 2021    Warranty claim
3.45        Central AutoParts LLC                   33 N LaSalle St           Suite 2030              Chicago          IL        60602            349,600.41                   MAR 2021-MAY 2021    Supplier Vendor
3.46        Central Freight Lines                   DEPT #42042               PO Box 650823           Dallas           TX        75265-0823         4,067.56 Unliquidated      JUL 2021             Supplier Vendor
3.47        CHASE-N-SALES                           14168 GOLFVIEW                                    LIVONIA          MI        48154                701.32                   JUN 2021             Services
3.48        CHASM ROAD INC                          1719 HARTFORD DR                                  CARROLLTON       TX        75007                 39.31 Uniliquidated     AUG 2014-JUN 2021    Warranty claim
3.49        Chris Kouri & Associates                1200 North Jefferson St   Suite K                 Anaheim          CA        925807               581.52                   JUN 2021             Services
3.50        City of Arlington                       Burglar Alarm Permit      PO Box 1065 MS04-0101   Arlington        TX        76004-1065           100.00                   7/1/2021             Supplier Vendor
3.51        CLARK STG LLC                           1015 Gibbins Road                                 Arlington        TX        76011                822.60                   7/1/2021             Supplier Vendor
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                                                                                                    HUNTINGTON
3.52   CLASSIC INDUSTRIES                     18460 GOTHARD STREET                                  BEACH           CA   92648               163.28   Uniliquidated   MAR 2015-JUN 2021    Warranty claim
3.53   COMFORT AUTO                           2618 W PIONEER PKWY             SUITE 300             GRAND PRAIRIE   TX   75051               272.57   Uniliquidated   APR 2016-JUL 2021    Warranty claim
3.54   CONCHO VALLEY RADIATOR                 501 N. MAIN STREET                                    SAN ANGELO      TX   76903                 3.15   Uniliquidated   MAR 2014-JAN 2021    Warranty claim
3.55   COST LESS AUTO PARTS                   10507 NE 53RD STREET                                  VANCOUVER       WA   98662               146.48   Uniliquidated   OCT 2014-OCT 2020    Warranty claim
3.56   CROW BURLINGAME                        0                               PO BOX 111            LITTLE ROCK     AR   72203               514.28   Uniliquidated   APR 2016-JUL 2020    Warranty claim
3.57   CROWN AUTOMOTIVE SALES                 83 ENTERPRISE DR                                      MARSHFIELD      MA   02050-0707          279.43   Uniliquidated   MAY 2018-JUN 2021    Warranty claim
3.58   CROWN PACKAGING CORP.                  PO BOX 17806M                                         ST LOUIS        MO   63195             4,054.46   Unliquidated    JUL 2021             Supplier Vendor
3.59   CUMMINS 1800 RADIATOR                  PO BOX 29920                                          BALTIMORE       MD   21230             5,819.42   Uniliquidated   JUN 2008-JUL 2021    Warranty claim
3.60   CUT RATE AUTO PARTS                    3819 PACIFIC AVE.               SUITE C               LACEY           WA   98503               203.23   Uniliquidated   DEC 2018-FEB 2021    Warranty claim
3.61   DAKOTA AUTO PARTS                      115 N. CLIFF AVE                                      SIOUX FALLS     SD   57101             1,291.84   Uniliquidated   SEP 2020-JUL 2021    Warranty claim
3.62   DataPoint Inc. ( DPI )                 28520 SE CHURCH RD                                    BORING          OR   97009             1,039.95                   JUN 2021             Supplier Vendor
3.63   Daylight Transport, LLC                P.O. Box 93155                                        Long Beach      CA   90809             5,182.94   Unliquidated    JUN 2021-JUL 2021    Supplier Vendor
3.64   DENNIS AUTO PARTS                      697 BRIDGEPORT AVE                                    MILFORD         CT   6460                824.17   Uniliquidated   NOV 2021-APR 2021    Warranty claim
3.65   DESERT AREA CORPORATION                42100 BEACON HILL                                     PALM DESERT     CA   92211             1,102.69   Uniliquidated   JAN 2014-MAY 2021    Warranty claim
3.66   DIAMOND AUTO PARTS                     7600 LAUREL CANYON BLVD                               N HOLLYWOOD     CA   91605               133.85   Uniliquidated   JUL 2016-MAR 2021    Warranty claim
3.67   DISCOUNT AUTO PARTS EXCHANGE           Tarrant Auto Air LLC            2120 SOLONA ST        HALTOM CITY     TX   76117                67.51   Uniliquidated   APR 2013-JUL 2021    Warranty claim
3.68   DIXIE AUTO PARTS                       733 BELLS HWY                                         WALTERBORO      SC   29488                21.58   Uniliquidated   JAN 2019-OCT 2020    Warranty claim
3.69   Dugan Truck Line LLC                   P.O.Box 771380                                        Wichita         KS   67277             1,416.73   Unliquidated    JUL 2021             Supplier Vendor
3.70   Duncan Disposal                        Republic Services               PO Box 78829          Phoenix         AZ   85062-8829          481.33   Unliquidated    JUN 2021             Supplier Vendor
                                                                                                    TAOYUAN CITY
3.71   DYE LIH TECHNOLOGY CO., LTD            No. 188, Ln. 552, Fuping Rd.,   Guanyin Dist.         328                                 102,814.55                    AUG 2020-JAN 2021    Supplier Vendor
3.72   EAST TEXAS AUTO AIR & GLASS            1019 WEST MARSHALL                                    LONGVIEW        TX   75604               51.12 Uniliquidated      APR 2013-JULY 2021   Warranty claim
3.73   Echo Global Logistics Inc.             Accounts Receivable             22168 Network Place   Chicago         IL   60673-1221       2,740.19 Unliquidated       JUN 2021-JUL 2021    Supplier Vendor
3.74   ESTES Express Lines                    P.O. Box 105160                                       Atlanta         GA   30348-5160      44,958.18 Unliquidated       JUN 2021-JUL 2021    Supplier Vendor
3.75   Evergreen Sales Group, Inc             18915 142nd Ave. NW             Suite 145             Woodinville     WA   98072                1.99                    JUN 2021             Services
                                                                                                    NORTH
3.76   FALCON ENTERPRISES                     3429 FREEDOM PARK DR #21                              HIGHLANDS       CA   95660                18.00   Uniliquidated   JUL 2017-DEC 2020    Warranty claim
3.77   Federal International Incorporated     7935 Clayton Road                                     St Louis        MO   63117               300.00                   JUN 2021             Supplier Vendor
3.78   FEDEX FREIGHT                          P.O. Box 223125                                       Pittsburgh      PA   15251-2125        6,169.44   Unliquidated    JUN 2021-JUL 2021    Supplier Vendor
3.79   FINLEY INDUSTRIES INC                  PO BOX 1560                                           SPARKS          NV   89432             1,118.33   Uniliquidated   APR 2019-MAR 2021    Warranty claim
3.80   FISHER AUTO PARTS                      **DO NOT USE**           512 GREENVILLE AVE           STAUNTON        VA   24402                 8.59   Uniliquidated   NOV 2014-APR 2021    Warranty claim
3.81   FLORES MUFFLER & RADIATOR              2734 LOMBARDY LANE                                    DALLAS          TX   75220                64.80   Uniliquidated   APR 2011-JUN 2021    Warranty claim
3.82   FORD CUSTOMER SERVICE DIV              16800 EXECUTIVE PLAZA DR                              DEARBORN        MI   48126-4207        8,265.79   Uniliquidated   JUL 2017-JUL 2021    Warranty claim
3.83   FORNEY RADIATOR                        103 E. BROAD STREET                                   FORNEY          TX   75126               108.21   Uniliquidated   FEB 2015-JUL 2021    Warranty claim
3.84   FOUR SEASONS                           1801 WATERS RIDGE DRIVE                               LEWISVILLE      TX   75057             5,539.09   Uniliquidated   JUL 2014-JUL 2021    Warranty claim
3.85   FRONTERA RADIATORS                     123 N. CHELSEA                                        EL PASO         TX   79905               340.76   Uniliquidated   JUN 2008-JUL 2021    Warranty claim
                                              5, LANE 796 MING-SHENG
3.86   FRUITAGE INTERNATIONAL CO., LTD.       ROAD                                                  TAOYUAN                           23,986,679.66                   JAN 2020-JUN 2021    Supplier Vendor
3.87   FULL LINE EXHAUST INC                  PO BOX 8335                                           DOLTHAN         AL   36304                13.06 Uniliquidated     DEC 2019-JUL 2021    Warranty claim

3.88   Gantt-Thomas & Associates Inc.         3003 E. Chestnutt Expressway Suite 250                Springfield     MO   65803              496.77                    JUN 2021             Services
3.89   GLAZIER SALES                          18344 N 93rd Way                                      Scottsdale      AZ   85255            8,859.93                    JUN 2021             Services
3.90   GLOBAL PARTS DISTRIBUTORS              3279 AVONDALE MILL RD                                 MACON           GA   31216              385.41 Uniliquidated      NOV 2013-JUL 2021    Warranty claim
3.91   GONZALEZ AUTO PARTS                    4220 SAN BERNARDO AVE                                 LAREDO          TX   78041            2,829.27 Uniliquidated      JAN 2014-JUL 2021    Warranty claim
3.92   GOOD GUYS AUTO CARE                    416 HIGHLAND AVE                                      IOWA CITY       IA   52240              815.08 Uniliquidated      SEP 2020-JUN 2021    Warranty claim
3.93   Green Mountain Energy                  Dept 1233                    P.O. Box 121233          Dallas          TX   75312-1233      10,536.09                    JUN 2021             Utility Provider

3.94   GREYLINE AUTO PARTS, INC.              11610 JEFFERSON DAVIS HWY                             CHESTER         VA   23831               112.01 Uniliquidated     MAR 2012-DEC 2020    Warranty claim
3.95   GS1 US, INC.                           Dept 781271               PO Box 7800                 Detroit         MI   48278-1271        3,050.00                   JUL 2021             Supplier Vendor
                                                                        111-115 WUYANG
                                              For TechRad Automotive    XINCHENG SQUARE,
3.96   GUANG DONG COMMERCIAL TRADING          Thermal Systems           SHIYOUXIN RD                GUANGZHOU            510600         761,170.23                    OCT 2020-MAR 2021    Supplier Vendor
3.97   HEATER CRAFT MARINE PRODUCTS           2160 W. MILES AVE                                     HAYDEN          ID   83835              792.55 Uniliquidated      NOV 2019-MAY 2021    Warranty claim
                                                                                                    Rancho
3.98   HECNY TRANSPORTATION INC.              19550 S. Dominguez Hills Dr.                          Dominguez       CA   90220               725.00                   5/25/2021            Supplier Vendor
3.99   Hercules Forwarding Inc.               7701 West 95th Street                                 Hickory Hills   IL   60457             1,902.88 Unliquidated      JUN 2021-JUL 2021    Supplier Vendor
4.00   HUBBARD'S IMPALA PARTS INC             1676 ANTHONY RD                                       BURLINGTON      NC   27215                35.46 Uniliquidated     OCT 2020-JUN 2021    Warranty claim

4.01   IEH AUTO PARTS LLC dba AUTO PLUS A/P   3111 W. ALLEGHENY AVE.                                PHILADELPHIA    PA   19132           35,187.29    Uniliquidated   JUN 2020-JUL 2021    Warranty claim
4.02   INDEPENDENT RADIATOR SRVC CORP         1701 ASPEN NW - UNIT W                                ALBUQUERQUE     NM   87104                3.40    Uniliquidated   NOV 2015-JUN 2021    Warranty claim
4.03   Interface Security Systems LLC         8339 Solutions Center                                 Chicago         IL   60677-8003          44.98                    JUL 2021             Supplier Vendor
4.04   INTEX AUTO PARTS                       1432 OLD BAYSHORE HWY                                 SAN JOSE        CA   95112              832.87    Uniliquidated   OCT 2012-MAR 2021    Warranty claim
4.05   JANI AUTO PARTS INC                    1325 S. MAIN ST                                       AKRON           OH   44103              287.98    Uniliquidated   JUN 2020-JUN 2021    Warranty claim
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4.06   JEGS AUTOMOTIVE dba BUCKEYE SALES        101 JEGS PLACE                                         DELAWARE         OH         43015             188.59 Uniliquidated      SEP 2020-JUN 2021    Warranty claim

       JIANGSU KALLER AUTO PARTS                                                                                        Jiangsu
4.07   TECHNOLOGY CO.,LTD                       No.218 Huaihe Road             Huaiyin District        Huain City       Province                1,459,806.80                   AUG 2020-MAR 2021    Supplier Vendor
       Jiangyin HongYang Auto Cond Equip Co.,   Huacheng Road 3#, Industry                             Qingyang Town,
4.08   Ltd.                                     Area                                                   Jiangyin         Jiangsu    214401        321,931.85                    MAR 2021-MAY 2021    Supplier Vendor
                                                                                                       Taichung City
4.09   JYA Whole Century Industrial CO., LTD    No.111 Sherfu Rd.              South Dist              402                         40251          91,775.50                    7/29/2020            Supplier Vendor
4.10   KAMPS INC                                PO Box 675126                                          Detroit          MI         48267-5126     13,594.08 Unliquidated       JUN 2021-JUL 2021    Supplier Vendor
4.11   KEYSTONE AUTOMOTIVE                      5846 CROSSINGS BLVD                                    ANTIOCH          TN         37013           2,041.99 Uniliquidated      AUG 2018-JUL 2021    Warranty claim
                                                                                                       Taoyuan City
4.12   KING SHING INDUSTRIAL CO.,LTD            No. 3 Gongye 1st Rd.           Pingzhen Dist.          32461                                     118,088.05                    7/25/2020            Supplier Vendor
4.13   KIRBY'S RADIATOR SERVICE                 2832 E BELKNAP                                         FORT WORTH       TX         76111           1,096.03    Uniliquidated   MAR 2015-JUL 2021    Warranty claim
4.14   LACAVA & SOWERSBY INC                    1375 PLYMOUTH AVE.                                     FALL RIVER       MA         02721             314.54    Uniliquidated   FEB 2012-MAY 2021    Warranty claim
4.15   LAKE PARTS INC                           2440 S. MAIN STREET                                    LAKEPORT         CA         95453           1,274.77    Uniliquidated   MAR 2020-JUN 2021    Warranty claim
4.16   LARRY'S AUTO PARTS                       3562 WAIALAE                                           HONOLULU         HI         96816             167.79    Uniliquidated   SEP 2020-JUN 2021    Warranty claim
4.17   LONE STAR RADIATOR                       1227 BASSE ROAD                                        SAN ANTONIO      TX         78212              48.42    Uniliquidated   AUG 2010-JUN 2021    Warranty claim
4.18   LONG MOTOR CORPORATION                   14600 W. 107TH STREET                                  LENEXA           KS         66215             695.35    Uniliquidated   JAN 2015-JUN 2021    Warranty claim
4.19   Meridian Propane                         PO Box136847                                           Fort Worth       TX         76136           1,642.60                    6/30/2021            Supplier Vendor
4.20   MID-MICHIGAN BODY PARTS                  2976 LARCH RD.                                         HARRISON         MI         48625             147.75    Uniliquidated   MAY 2021-MAY 2021    Warranty claim
4.21   MONROE MOTOR PRODUCTS                    40 JOSEPH AVE.                                         ROCHESTER        NY         14605             373.69    Uniliquidated   MAY 2020-DEC 2020    Warranty claim
4.22   MOOG LOUISVILLE WAREHOUSE                PO BOX 2555                                            LOUISVILLE       KY         40201-2555      3,038.66    Uniliquidated   MAY 2020-JULY 2021   Warranty claim
4.23   MORRIS AUTOMOTIVE SUPPLY                 8539 NUEVO AVENUE                                      FONTANA          CA         92335             638.39    Uniliquidated   AUG 2011-JUL 2021    Warranty claim
4.24   MOTOR PARTS AND EQUIPMENT                1670 NORTHROCK COURT                                   ROCKFORD         IL         61103             112.45    Uniliquidated   MAY 2020-MAR 2021    Warranty claim

4.25   Mountain Movers                          Transportation and Logistics   PO Box 1272             Grapevine        TX         76099          11,750.00 Unliquidated       JUN 2021-JUL 2021    Supplier Vendor
4.26   N.J. Malin & Associates, LLC             P.O. Box 843860                                        DALLAS           TX         75284-3860               Unliquidated       AUG 2016-JUL 2021    Supplier Vendor
                                                Accounting Shared Service
4.27   NAPA                                     Cntr                                                   NORCROSS         GA         30091-2047   1,050,665.81 Uniliquidated     AUG 2020-JUL 2021    Warranty claim
4.28   NATIONAL AUTO STORES                     2512 QUAKERTOWN RD                                     PENNSURG         PA         18073              199.84 Uniliquidated     JAN 2016-JAN 2021    Warranty claim

4.29   NATIONAL COOLING PRODUCTS                717 S.W. 4                                             OKLAHOMA CITY OK            73109              84.78 Uniliquidated      JAN 2009-JUL 2021    Warranty claim


                                                                                                                                                                                                    Warranty claim, various
                                                                                                                                                            Uniliquidated,                          other marketing and program
4.30   NATIONAL PERFORMANCE WHSE (NPW)          11150 NW 32ND AVE                                      MIAMI            FL         33167          41,341.59 Contingent         JAN 2015-JUL 2021    expenses

4.31   NETHERTON AUTO PARTS                     1406 CENTRAL PARKWAY SW                                DECATUR          AL         35601              30.86 Uniliquidated      DEC 2020-DEC 2020    Warranty claim
4.32   Nevins Sales                             7900 Excelsior Blvd     Suite 104A                     Hopkins          MN         55343-3467          3.70                    JUN 2021             Services

4.33   NJAP EXPRESS PARTS                       dba NEW JERSEY AUTO PARTS      11512 QUAIL ROOST DR    MIAMI            FL         33157              98.99 Uniliquidated      AUG 2014-MAY 2021    Warranty claim
                                                dba FACTORY DIRECT AUTO
4.34   NJAP EXPRESS PARTS #4                    PARTS                          15420 SW 136TH STREET   MIAMI            FL         33196-2669         89.29    Uniliquidated   AUG 2014-MAY 2021    Warranty claim
4.35   NKR DIESEL PARTS INC                     7851 NW 46TH ST                                        DORAL            FL         33166             502.41    Uniliquidated   JAN 2017-MAR 2021    Warranty claim
4.36   NORTHERN FACTORY SALES                   2701 4TH AVE SW                PO BOX 660              WILLMAR          MN         56201              92.88    Uniliquidated   JUN 2013-MAY 2021    Warranty claim
4.37   OAK CLIFF OFFICE PRODUCTS                1876 LONE STAR DR                                      DALLAS           TX         75212             674.41                    JUN 2021-JUL 2021    Supplier Vendor
4.38   OMEGA ENVIRONMENTAL TECH                 1401 VALLEY VIEW LANE          SUITE 100               IRVING           TX         75061             259.37    Uniliquidated   JUL 2010-JUL 2021    Warranty claim


                                                                                                                                                            Uniliquidated,                          Warranty claim, various
                                                                                                                                                            Disputed,                               other marketing and program
4.39   OMNI-PARTS AUTOMOTIVE                    100 LOGISTICS DRIVE            SUITE 101               LEBANON          TN         37090          41,822.79 Contingent         MAR 2017-JAN 2021    expenses
4.40   OPENTEXT Inc.                            J.P. Morgan Lockbox            24685 Network Place     Chicago          IL         60673-1246        373.10                    JUL 2021             Supplier Vendor
4.41   ORLEANS AUTO SUPPLY INC                  333 BARNSTABLE ROAD                                    HYANNIS          MA         2601            1,027.19 Uniliquidated      DEC 2011-JUN 2021    Warranty claim


                                                                                                                                                                                                    Warranty claim, various
                                                                                                                                                             Uniliquidated,                         other marketing and program
4.42   OZARK PURCHASING LLC                     ATTN: A/P 3056                                         SPRINGFIELD      MO         65801-1897   2,379,269.29 Contingent        JUL 2008-JUL 2021    expenses
4.43   P.R.O.S. Inc.                            PO Box 101353                                          Fort Worth       TX         76185            1,123.89                   JUN 2021             Services
4.44   PARKS AUTO PARTS                         5429 RIVERS AVE                                        N CHARLESTON     SC         29406            2,085.63 Uniliquidated     OCT 2014-JUN 2021    Warranty claim
4.45   PARTS PLUS OF NEW MEXICO                 5900 OFFICE BLVD NE                                    ALBUQUERQUE      NM         87109              537.77 Uniliquidated     APR 2017-JUN 2021    Warranty claim
4.46   PERFORMANCE RADIATOR                     2667 S. TACOMA WAY                                     TACOMA           WA         98409              700.32 Uniliquidated     OCT 2008-JUL 2021    Warranty claim
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4.47   PRO PARTS - CLEARWAY AUTO              3 DAKOTA DR                  SUITE 110          NEW HYDE PARK NY            11042           62,872.61 Uniliquidated      APR 2013-JUL 2021   Warranty claim
4.48   Pro-Reps Sales                         10639 Gordon Road                               Spotsylvania  VA            22553            2,540.60                    JUN 2021            Services
                                              No.40 Shangdong Road Unit
4.49   Qingdao Everbright Machinery CO.,LTD   #1503                                           Qingdao                     266071          99,361.54                    APR 2021            Supplier Vendor
4.50   QPW INC.                               224 HASKELL DR                                  GARLAND           TX        75040              333.42 Uniliquidated      DEC 2014-JUN 2021   Warranty claim
                                                                                                                CHIHUAH
4.51   Radiadores Frontera S.A de C.V         Av. Valentín Fuentes No. 1643                   Ciudad Juárez     UA        32510              579.90    Uniliquidated   JUL 2018-JUL 2021   Warranty claim
4.52   RADIATOR DEPOT                         2820 ROE LANE - STE A                           KANSAS CITY       KS        66103           16,754.14    Uniliquidated   MAY 2008-JUL 2021   Warranty claim
4.53   RADIATOR EXPRESS.com INC.              PO BOX 460                    102 E. BAY AVE    MANAHAWKIN        NJ        8050               886.56    Uniliquidated   NOV 2013-JUL 2021   Warranty claim
4.54   RANSHU                                 525 CONEY ISLAND DR                             SPARKS            NV        89431              293.29    Uniliquidated   APR 2014-JUN 2021   Warranty claim
4.55   Raymond Leasing Corporation            Account Receivable            P.O. Box 301590   Dallas            TX        75303-1590       4,157.03                    JUL 2021            Supplier Vendor
4.56   REGIONAL AUTOMOTIVE WHSE               401 FRELINGHUYSEN AVE.                          NEWARK            NJ        7114               682.01    Uniliquidated   FEB 2009-APR 2021   Warranty claim
4.57   REX RADIATOR                           483 EVERGREEN STREET                            BENSENVILLE       IL        60106              125.42    Uniliquidated   OCT 2008-OCT 2020   Warranty claim
4.58   RMDS                                   P.O. Box 102337                                 Atlanta           GA        30368           24,649.56    Unliquidated    JUN 2021-JUL 2021   Supplier Vendor
4.59   SAIA MOTOR FREIGHT LINE, INC.          P.O. BOX 730532                                 DALLAS            TX        75373-0532      32,570.39    Unliquidated    JUN 2021-JUL 2021   Supplier Vendor
4.60   Scott Lang                             1868 Moes Place                                 Wachulla          FL        33873                        Disputed        4/30/2021           Complaint
4.61   Seth F. Johnson Sales, Inc             121 Boston Post Road                            Sudbury           MA        1776              1,108.30                   JUN 2021            Services
                                              Suite 515 Maoyuan Bldg
4.62   Shenzhen U-Man Industrial Co., Ltd.    Songyuan Rd                                     Shenzhen                    518001          84,636.14 Uniliquidated      3/31/2021           Supplier Vendor
4.63   Shoppas Material Handling              P.O. Box 612027                                 DALLAS            TX        75261-2027                Unliquidated       MAR 2016-JUL 2021   Supplier Vendor
4.64   SLACK AUTO PARTS CO., LLC              1755 ENTERPRISE DRIVE                           BUFORD            GA        30518              381.97 Uniliquidated      AUG 2010-MAY 2021   Warranty claim
4.65   SoCAL AUTO & TRUCK PARTS               1422 N. BATAVIA ST                              ORANGE            CA        92867              228.32 Uniliquidated      SEP 2020-SEP 2020   Warranty claim

4.66   SUNBELT RADIATORS INC                  7880 NW 98th Street                             Hialeah Gardens   FL        33016              102.41                    7/4/2021            Customer
4.67   System Concepts, Inc.                  1702 Minters Chapel Rd       Suite 102          Grapevine         TX        76051            2,578.53    Unliquidated    JUL 2021            Supplier Vendor
4.68   THE PEP BOYS                           3111 W. ALLEGHENY AVE.                          PHILADELPHIA      PA        19132           27,020.15    Uniliquidated   SEP 2020-JUL 2021   Warranty claim
4.69   THE RADIATOR SHOP SUPPLY               3005 SHAMROCK AVE                               FORT WORTH        TX        76107              195.03    Uniliquidated   OCT 2010-JUL 2021   Warranty claim
4.70   THE RADIATOR STORE                     136 ROUTE 46 EAST                               LODI              NJ        7644             6,363.56    Uniliquidated   MAR 2014-JUL 2021   Warranty claim
4.71   THERMAL SOLUTIONS MFG. INC.            15 CENTURY BLVD.             SUITE 102          NASHVILLE         TN        37214              727.60    Uniliquidated   MAR 2012-MAY 2021   Warranty claim
4.72   TIAA Commercial Finance, Inc.          P.O. Box 911608                                 Denver            CO        80291-1608         274.48                    7/9/2021            Supplier Vendor
4.73   TOYOTA FINANCIAL SERVICES              PO Box 660926                                   Dallas            TX        75266-0926       3,985.71                    7/8/2021            Supplier Vendor
                                              5TH FLOOR A9 BUILDING 8
4.74   U&C AUTO PARTS COMPANY LIMITED         EAST SHENGTAI ROAD                              NANING                                     983,052.14                    SEP 2020-MAR 2021   Supplier Vendor
4.75   U.S. Road Freight                      PO Box 9070                                     Wichita           KS        67277-0070       5,227.38 Unliquidated       JUN 2021-JUL 2021   Supplier Vendor
4.76   United Recyclers Group, LLC            5353 Williams Drive          Suite 105          Georgetown        TX        78633              175.00                    7/1/2021            Supplier Vendor
4.77   US INTERNET CORP - 131489              PO BOX 1414                                     MINNEAPOLIS       MN        55480-1414          51.00                    7/4/2021            Supplier Vendor
                                              14239 COLLECTION CENTER
4.78   XO COMMUNICATIONS                      DR                                              CHICAGO           IL        60693             7,003.31                   7/8/2021            Supplier Vendor
4.79   XPO Logistics Freight, Inc             29559 Network Place                             Chicago           IL        60673-1559        2,209.94 Unliquidated      JUL 2021            Supplier Vendor
4.80   YRC                                    P.O. BOX 730375                                 DALLAS            TX        75373-0375       13,721.39 Unliquidated      JUN 2021-JUL 2021   Supplier Vendor
                                                                                                                                       35,014,238.69
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Official Form 206E/F
Schedule E/F: Creditors who have unsecured Claims

Part 3: List others to be Notified about Unsecured Claims

Name                                    Mailing Address 1       Mailing Address
                                                                            City2        State ZIP        Which Line
c/o Doug Burnetti, Burnetti PA          211 S. Florida Avenue               Lakeland     FL         33801 4.60
CAINE & WEINER CO, INC                  5805 SEPULVEDA BLVD     FL 4        SHERMAN OAKS CA    91411-2532         4.62
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 Fill in this information to identify the case:

 Debtor name         Automotive Parts Distribution International, LLC

 United States Bankruptcy Court for the:            Northern District of Texas

 Case number (if known)        21-41655-elm11
                                                                                                                                     Check if this is an
                                                                                                                                     amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal            Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1       State what the contract or
           lease is for and the nature              Building lease located at 3000 E. Pioneer Parkway, Suites 160 and 180, Arlington TX,
           of the debtor's interest
                                                    76010
              State the term remaining              Until December 31, 2022

            List the contract number of
             any government contract                                             BCI IV Operating Partnership LP, P.O. Box 734009, Dallas, TX 75373-4009



 2.2       State what the contract or
           lease is for and the nature              Equipment Lease for contracts 329991, 329992, 329993, 329994, 329995, 329996,
           of the debtor's interest                 329997, 329998.
              State the term remaining              See "Equipment Lease" schedule

            List the contract number of
             any government contract                                             N.J. Malin & Associates, LLC, P.O. Box 797, Addison, TX 75001-0797


 2.3       State what the contract or
           lease is for and the nature              Equipment lease for units 68425, C5562, 90018, 95186, 95188, 95189.
           of the debtor's interest

              State the term remaining              See "Equipment Lease" schedule

            List the contract number of
             any government contract                                             Shoppa's Material Handling, LTD., 15217 Grand River Road, Fort Worth, TX 76155



 2.4       State what the contract or
           lease is for and the nature              Electronic Data Interchange (EDI) services for trade activity.
           of the debtor's interest

              State the term remaining              Ends 6/30/2022

            List the contract number of
             any government contract                                             GCommerce, Inc. 601 East Locust Street, Suite 103, Des Moines, IQ 50309



        See attached "Form 206G" support.

Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                               Page 1 of 1
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Schedule 206 G Part 1: Equipment Lease
Equipment Lease


                                                       Lease/
Vendor    Manufacturer   Description     Model         Contract #    Comments
Raymond   Raymond        Reach           7500R35TT     329991        Includes battery and charger
Raymond   Raymond        Orderpicker     560OPC30TT    329992        Includes battery and charger
Raymond   Raymond        Orderpicker     560OPC30TT    329992        Includes battery and charger
Raymond   Raymond        Orderpicker     560OPC30TT    329992        Includes battery and charger
Raymond   Raymond        Orderpicker     560OPC30TT    329992        Includes battery and charger
Raymond   Raymond        Orderpicker     560OPC30TT    329993        Includes battery and charger
Raymond   Raymond        Orderpicker     560OPC30TT    329993        Includes battery and charger
Raymond   Raymond        Orderpicker     560OPC30TT    329993        Includes battery and charger
Raymond   Raymond        Orderpicker     560OPC30TT    329993        Includes battery and charger
Raymond   Raymond        Orderpicker     560OPC30TT    329994        Includes battery and charger
Raymond   Raymond        Orderpicker     560OPC30TT    329994        Includes battery and charger
Raymond   Raymond        Orderpicker     560OPC30TT    329994        Includes battery and charger
Raymond   Raymond        Orderpicker     560OPC30TT    329994        Includes battery and charger
Raymond   Raymond        Orderpicker     560OPC30TT    329994        Includes battery and charger
Raymond   Raymond        Orderpicker     560OPC30TT    329995        Includes battery and charger
Raymond   Raymond        Orderpicker     560OPC30TT    329996        Includes battery and charger
Raymond   Raymond        Orderpicker     560OPC30TT    329996        Includes battery and charger
Raymond   Raymond        Orderpicker     560OPC30TT    329996        Includes battery and charger
Raymond   Raymond        Reach           7500R35TT     329997        Includes battery and charger
Raymond   Raymond        Reach           560OPC30TT    329997        Includes battery and charger
Raymond   Raymond        Reach           7500R35TT     329998        Includes battery and charger
Raymond   Raymond        Reach           7500R35TT     329998        Includes battery and charger
Raymond   Raymond        Reach           7500R35TT     329998        Includes battery and charger
Raymond   Raymond        Reach           7500R35TT     329998        Includes battery and charger
                                                       50243341-
Toyota    Toyota         LP Lift Truck 8FGCU25-68425   10000238464
                                                       50422293-
Toyota    Toyota         LP Lift Truck 8FGCU25-C5562   10000385898
                                                       50307588-
Toyota    Toyota         LP Lift Truck 8FGCU25-90018   10000293318
                                                       50326007-
Toyota    Toyota         LP Lift Truck 8FGCU25-95188   10000309843
                                                       50326007-
Toyota    Toyota         LP Lift Truck 8FGCU25-95189   10000309844
                                                       50326007-
Toyota    Toyota         LP Lift Truck 8FGCU25-95186   10000309845
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                                       Remainig
                       Remaining       payments (less
                       Months as of    last month paid in
Amount      Lease End Filing Date      advance
  732.60     9/5/2021                2            732.60
   697.02   12/25/2021               5          2,788.06
   697.02   12/25/2021               5          2,788.06
   697.02   12/25/2021               5          2,788.06
   697.02   12/25/2021               5          2,788.06
   635.44   12/15/2021               5          2,541.77
   635.44   12/15/2021               5          2,541.77
   635.44   12/15/2021               5          2,541.77
   635.44   12/15/2021               5          2,541.77
   697.01   12/25/2021               5          2,788.06
   697.01   12/25/2021               5          2,788.06
   697.01   12/25/2021               5          2,788.06
   697.01   12/25/2021               5          2,788.06
   697.01   12/25/2021               5          2,788.06
   648.40   5/20/2022               10          6,484.00
   770.92   6/20/2023               23         16,960.17
   770.92   6/20/2023               23         16,960.17
   770.92   6/20/2023               23         16,960.17
   829.44   7/15/2023               24         19,077.12
   829.44   7/15/2023               24         19,077.12
   856.13   2/23/2023               19         15,410.30
   856.13   2/23/2023               19         15,410.30
   856.13   2/23/2023               19         15,410.30
   856.13   2/23/2023               19         15,410.30

   630.24 3/31/2021                               630.24

   735.02 10/23/2025                52         38,221.04

   642.41 2/15/2023                 19         12,205.79

   659.34 9/19/2023                 26         17,142.84

   659.35 9/19/2023                 26         17,143.10

   659.35 9/19/2023                 26         17,143.10
21,577.75                                     295,638.23
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Official Form 206G
Schedule G: Exectory Contracts and Unexpired Leases

2.1
Nature of Lease:             Building Lease located at 3000 E. Pioneer Parkway, Suites 160 and 180, Arlington, TX 76010
Remaining Term:              Until December 31, 2022
Name and Mailing Address:    BCI IV Operating Partnership LP, P.O. Box 734009, Dallas, TX 75373-4009


2.2
Nature of Lease:             Equipment Lease for contracts 329991, 329992, 329993, 329994, 329995, 329996, 329997, 329998.
Remaining Term:              See "Equipment Lease" schedule
Name and Mailing Address:    N.J. Malin & Associates, LLC, P.O. Box 797, Addison, TX 75001-0797


2.3
Nature of Lease:             Equipment lease for units 68425, C5562, 90018, 95186, 95188, 95189.
Remaining Term:              See "Equipment Lease" schedule
Name and Mailing Address:    Shoppa's Material Handling, LTD., 15217 Grand River Road, Fort Worth, TX 76155


2.4
Nature of Lease:             Electronic Data Interchange (EDI) services for trade activity
Remaining Term:
Name and Mailing Address:    GCommerce, Inc. 601 East Locust Street, Suite 103, Des Moines, IQ 50309


2.5
Nature of Lease:             Copier lease
Remaining Term:              Until March 29, 2023
Name and Mailing Address:    Technifax Office Solutions, 14202 Proton Rd., Dallas, TX 75244
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96, 329997, 329998.
          Case 21-41655-elm11 Doc 115 Filed 07/23/21                                    Entered 07/23/21 18:15:10            Page 40 of 40

 Fill in this information to identify the case:

 Debtor name         Automotive Parts Distribution International, LLC

 United States Bankruptcy Court for the:            Northern District of Texas

 Case number (if known)        21-41655-elm11
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                       Name                        Check all schedules
                                                                                                                                 that apply:
    2.1                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                     State       Zip Code


    2.2                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                     State       Zip Code


    2.3                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                     State       Zip Code


    2.4                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                     State       Zip Code




Official Form 206H                                                               Schedule H: Your Codebtors                                   Page 1 of 1
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